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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                             HONORABLE MARCIA S. KRIEGER

 Courtroom Deputy:      Patricia Glover          Date: January 30, 2012
 Court Reporter:        Paul Zuckerman
 Probation Officer:     Jeanette Woll

 Criminal Action No. 10-cr-00614-MSK

 Parties:                                         Counsel:

 UNITED STATES OF AMERICA,                        Michele Korver

                Plaintiff,

 v.

 EFRAIN SALGADO-MEZA,                             Joseph Saint-Veltri

                Defendant.

                            SENTENCING MINUTES
 ______________________________________________________________________________

 1:54 p.m.      Court in session.

 Defendant present on bond.
 Change of Plea Hearing on October 3, 2011. Defendant pled guilty to Count 22 of the
 Indictment.

 Parties received and reviewed the presentence report and all addenda.

 The parties do not dispute the facts contained in the presentence report.

 The parties do not dispute the calculation of the sentence under the Federal Sentencing
 Guidelines as set forth in the original presentence report.

 The Government does request departure. (Doc. #191) Argument. Defendant has no objection.

 The parties do not contend that the sentence should be different from that calculated under the
 Sentencing Guidelines in light of the sentencing objectives set forth in 18 U.S.C. Section
 3553(a).

 Allocution. - Statements made by: The Government, the defendant, defense counsel.

 After consideration of the provisions of 18 U.S.C. 3553 (a), the Court announces the sentence it
 intends to impose as reflected in the record. Counsel are offered the opportunity for further
 argument. Argument made by (The Government) (defense counsel)

 ORDER:         The Government’s Motion for Downward Departure (Doc. #191) is GRANTED.
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 Sentencing Minutes
 Judge Marcia S. Krieger
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 ORDER:         THE DEFENDANT IS SENTENCED AS REFLECTED IN THE RECORD.

 The defendant is advised of his right to appeal.

 ORDER:         Defendant is remanded to the custody of the United States Marshal for the
                District of Colorado.

 ORDER:         Bond is exonerated.

 2:16 p.m.      Court in recess.

 Total Time: 22 minutes.
 Hearing concluded.
